            1:19-cv-01300-CSB-EIL # 8        Page 1 of 2                                           E-FILED
                                                                    Monday, 21 October, 2019 02:21:08 PM
                                                                             Clerk, U.S. District Court, ILCD
10452-85
BMS/tlp
                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE CENTRAL DISTRICT OF ILLINOIS
                                       URBANA DIVISION

KIMBERLY BRIGHAM, Individually and as             )
Independent Administrator of the Estate of        )
JAMES B. BRIGHAM, Deceased,                       )
                                                  )
                Plaintiff,                        )
                                                  )
           v.                                     )    No. 19-cv-01300-CSB-EIL
                                                  )
COLES COUNTY, ILLINOIS, JIMMY RANKIN,             )
COLES COUNTY DEPUTIES WILLIAM BILBREY,            )
SAMUEL A. JACKSON, & DEPUTY JOHN DOE              )
(ID# 288),                                        )
                                                  )
                Defendants.                       )

                                    ENTRY OF APPEARANCE

         NOW COMES BRYAN J. VAYR of HEYL, ROYSTER, VOELKER & ALLEN, and hereby enters
an appearance as co-counsel on behalf of the Defendants, COLES COUNTY, ILLINOIS, JIMMY
RANKIN, WILLIAM BILBREY and SAMUEL A. JACKSON, in the above-captioned matter, and
hereby states that he has been admitted to practice in the United States District Court, Central
District of Illinois, and that he is a member in good standing of the Bar of this Court.

           DEFENDANTS DEMAND A TRIAL BY JURY

                                      COLES COUNTY, ILLINOIS, JIMMY RANKIN, WILLIAM
                                      BILBREY and SAMUEL A. JACKSON, Defendants

                                      BY: s/Bryan J. Vayr
                                      Bryan J. Vayr, ARDC #: 6327729
                                      HEYL, ROYSTER, VOELKER & ALLEN
                                      Suite 505, 301 N. Neil Street
                                      Champaign, IL 61820
                                      Telephone 217.344.0060
                                      Email: bvayr@heylroyster.com




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                                      PROOF OF SERVICE

       I hereby certify that on October 21, 2019, I electronically filed the foregoing ENTRY OF
APPEARANCE, with the Clerk of the Court using the CM/ECF system which will send notification
of such filing to the following:

Chad S. Beckett
Andrew W. B. Bequette
Juan C. Bernal
Beckett Law Office, P.C.
508 S. Broadway
Urbana, IL 61801

        I also hereby certify that I have mailed, by United States Postal Service, the foregoing to
the following non-CM/ECF participant: None.



                                                     s/Bryan J. Vayr
                                                     Heyl, Royster, Voelker & Allen



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